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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

                                                             970 Broad Street, 7th floor                       973-645-2700
                                                             Newark, New Jersey 07102




                                                             June 21, 2022


Honorable Claire C. Cecchi, U.S.D.J.
Martin Luther King Federal Building and Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Goettsche et al., Crim. No. 19-877

Dear Judge Cecchi:

             Please find attached a STIPULATION AND MODIFICATION OF
POST INDICTMENT RESTRAINING ORDER (Gobit LLC’s interest in HIIT Health
LLC) for the Court’s consideration and endorsement.


                                                             Respectfully yours,

                                                             Philip R. Sellinger
                                                             United States Attorney

                                                             s/ Joseph N. Minish

                                                    By:      Joseph N. Minish
                                                             Assistant U.S. Attorney
